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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                              Chapter 11
         L&N TWINS PLACE LLC                                        Case No. 17-22758 (RDD)

                                             Debtor.
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PUKA CAPITAL FUNDING LLC,
                                             Plaintiff,
                  -against-                                         Adversary No. 17-08332 (RDD)

L&N TWINS PLACE LLC,
                                             Defendant.
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                              SCHEDULING AND PRE-TRIAL ORDER

       The parties cannot amend this order by stipulation or otherwise, and the Court will
not amend it unless presented with (i) proof of cause beyond the control of the party
seeking amendment and (ii) timely application as soon as possible after the party seeking
amendment learns of the cause. FAILURE TO COMPLY WITH THIS ORDER MAY
RESULT IN DISMISSAL OR OTHER SANCTION. If delay or other act or omission of
your adversary may result in a sanction against you, it is incumbent on you to promptly
bring this matter to the Court for relief.

         It is hereby ORDERED as follows:

               1. The Parties have represented that all discovery has been completed.

               2. The trial has been scheduled for October 3 and 4, 2018 (“Scheduled Trial Date”),
                  commencing at 10:00 a.m. on October 2, 2018 or as soon thereafter as counsel
                  can be heard.

               3. On or before July 15, 2018, the Debtor shall file and serve a motion objecting to
                  Claim No. 4 filed by Maria Balaj, and Maria Balaj shall file and serve a motion
                  objecting to Claim No. 8 filed by Puka Capital Funding LLC. Any responses or
                  objections to such motions shall be filed and served on or before September 19,
                  2018. The Court will hold a hearing on such motions on October 3, 2018 at 10:00
                  a.m.

               4. On or before July 31, 2018, the parties shall have exchanged expert witness lists.

               5. On or before September 19, 2018, the parties shall have conferred and used their
                  best efforts to agree on a joint exhibit book and shall have identified any exhibits
                  whose admissibility is not agreed.

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               6. On or before September 19, 2018, the parties shall have exchanged proposed non-
                  expert witness lists.

               7. On or before September 26, 2018, the parties shall (a) submit to chambers
                  declarations under penalty of perjury or affidavits of their direct witnesses, who
                  shall be present at trial for cross-examination and redirect, or have sought the
                  Court’s permission to examine direct witnesses at trial and (b) submit to
                  chambers the joint exhibit book referred to in paragraph 4 hereof.



Dated: White Plains, New York
        June 19, 2018
                                                                /s/Robert D. Drain
                                                                Hon. Robert D. Drain
                                                                United States Bankruptcy Judge




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